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                        COMMONWEALTH OF MASSACHUSETTS

NANTUCKET, ss.                                           SUPERIOR COURT DEPARTMENT
                                                                  OF THE TRIAL COURT

__________________________________________
KATHERINE JETTER, and                      )
KATHERINE JETTER LTD. d/b/a THE            )
VAULT NANTUCKET,                           )
                                           )
                  Plaintiffs,              )
                                           )
v.                                         )               Civil Action No. 2575-cv-00021
                                           )
BOUTIQUE TERE, INC. d/b/a MARISSA          )
COLLECTIONS, JAY HARTINGTON,               )
MARISSA HARTINGTON, and                    )
BURT HARTINGTON                            )
                                           )
                  Defendants.              )


TO:     Aliki Sofis, Esq.
        Kathleen Marini, Esq.
        John F. Ferraro, Esq.
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                       NOTICE TO PLAINTIFF’S COUNSEL OF
                     REMOVAL OF ACTION TO FEDERAL COURT

       PLEASE TAKE NOTICE that Defendants in the above-entitled action, Boutique Tere,

Inc., d/b/a Marissa Collections (“Marissa Collections”), Jay Hartington, Marissa Hartington, and

Burt Hartington (collectively, “Defendants”), filed in the United States District Court for the

District of Massachusetts, their Notice of Removal of the above-captioned matter from the

Superior Court for Nantucket County to the United States District Court for the District of
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Massachusetts (a copy of said Notice is attached hereto), together with a copy of the Complaint

and all other process, pleadings, and orders filed by the Plaintiffs in the Superior Court for

Nantucket County.

       You are also advised that said Defendants, upon filing said Notice, filed a Notice of

Filing of Removal of Action to Federal Court with the Clerk for the Superior Court for

Nantucket County and attached thereto copies of the following (1) Notice of Removal with

exhibits attached thereto; and (2) the Notice to Counsel of Removal of Action to Federal Court.

       Such action has effectuated the removal of this action to the United States District Court

for the District of the Massachusetts, in accordance with the provisions of 28 U.S.C. §§ 1441 and

1446, and no further proceedings may be had in this state court action.

                                             Respectfully Submitted,

                                             BOUTIQUE TERE, INC. d/b/a MARISSA
                                             COLLECTIONS, JAY HARTINGTON,
                                             MARISSA HARTINGTON, and
                                             BURT HARTINGTON,

                                             By their Attorneys,


                                             /s/ Damien M. DiGiovanni
                                             Damien M. DiGiovanni (BBO No. 682005)
                                             Jeffrey T. Collins (BBO No. 640371)
                                             Brendan T. Sweeney (BBO No. No. 703992)
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                                             bsweeney@morganbrown.com

DATED: May 23, 2025




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                               CERTIFICATE OF SERVICE

        I, Brendan T. Sweeney, hereby certify that a copy of the within pleading was served by
electronic mail upon counsel at the addresses below this 23rd day of May, 2025:

       Aliki Sofis, Esq.
       Kathleen Marini, Esq.
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                                                    /s/ Brendan Sweeney
                                                    Brendan T. Sweeney




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